UNITED STATES OF AMERICA, ex. rel.
ERICA BOOGAERTS and CHAD
EDWARDS

Defendants

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UNITED STATES DISTRICT COURT ih"
EASTERN DISTRICT OF LOUISIANAS —

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CIVIL ACTION NO. 1 " = 8 6
Plaintiffs, 2 ¢

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VASCULAR ACCESS CENTERS, L.P., et SECT. ry MAG “|

 

 

 

COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT, ANTI-

KICKBACK STATUTES, AND PHYSICIAN SELF-REFERRAL LAWS

Qui Tam Plaintiffs/Relators Erica Boogaerts and Chad Edwards (“Relators”), on behalf of the

United States of America, file this Complaint against Vascular Access Centers, LP (“VAC”),

Vascular Access Center of East Memphis, LLC, Vascular Access Center of Memphis, LLC,

Vascular Access Center of Jacksonville, LLC, Vascular Access Center of Durham, LLC, Vascular

Access Center of Georgia, LLC, Vascular Access Center of Southwest Louisiana, LLC, Vascular

Access Center of Prince George’s County, LLC, Vascular Access Center of Southern Maryland,

LLC, Vascular Access Center of D.C., LLC, Vascular Access Center of South Los Angeles, LLC,

Vascular Access Center of New Orleans, LLC, Vascular Access Center of Northshore Louisiana,

LLC, Vascular Access Center of Bolivar County, LLC, Vascular Access Center of Atlantic

County, LLC, Vascular Access Center of Eatontown, LLC, Vascular Access Center of Central

New Jersey, LLC, Vascular Access Center of West Orange, LCC, Vascular Access Center of

Pittsburgh, LLC, Vascular Access Center of Houston, LLC, Main Line Vascular Institute, LLC,
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Peripheral Vascular Institute of Philadelphia, LLC (referred to collectively as “Independent

Facilities”), Philadelphia Vascular Institute, LLC, and James F. McGuckin, Jr., M.D. (referred to

collectively as “Defendants”) and allege as follows:

1.

INTRODUCTION
This is an action to recover damages and civil penalties on behalf of the United States of
America arising from illegal medical directorship agreements, self-referrals from
physicians, and the request and presentment for payment concerning countless medically
unnecessary procedures.
VAC, by way of Dr. McGuckin’s orders as Chief Executive Officer and through its
majority owned Independent Facilities, employed medical directors for the purpose of
concealing, as management fees, illegal payments made primarily to induce these medical
directors to refer patients to the Independent Facilities, in violation of the federal Anti-
Kickback Statute, 42 U.S.C. § 1320a-7b(b). Defendant VAC, participated in the kickback
scheme by recruiting these physicians to serve as medical directors.
Referrals by the medical directors, as well as referrals by physician investors, to
Independent Facilities violated the federal physician self-referral law, 42 U.S.C. § 1395nn
(commonly referred to as the “Stark Law”), in light of the financial relationship between
these medical directors, physician investors, and these Independent Facilities.
Defendants also violated the federal False Claims Act (“federal FCA”), 31 U.S.C. § 3729
et seq. Knowing that they were ineligible for the payments demanded due to violations of
the federal Anti-Kickback Statute, these Independent Facilities submitted claims for

reimbursement to Medicare, Medicaid, and other federal and state health care programs

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related to these illegal patient referrals, and they created or used false records in support of
these false claims.

In addition to the Anti-Kickback violations addressed above, many of these Independent
Facilities fail the “60-40 test”, particularly, the “Revenue Test,” which requires that no
more than 40% of an entity’s gross revenues come from referrals or business otherwise
generated from investors. 42 C.F.R. § 1001.952(a)(2)(i) and (vi).

Defendants further violated the federal FCA when these Independent Facilities continually
submitted Medicare and Medicaid claims for medically unnecessary procedures, such as
fistulagrams, angiograms and superior vena cavagrams (“SVCgrams”).

The concern with illegal referral incentive agreements and billing for medically
unnecessary procedures is that they interfere with the physician’s judgment of what is the
most appropriate care for a patient.

These illegal kickback arrangements and unwarranted procedures can inflate costs to
federal health care programs by causing physicians to overuse or to inappropriately use the
services of a particular facility, as well as billing payers for these services.

In addition, unlawful incentives may result, and have done so here, in the delivery of
inappropriate, medically unnecessary care to federal health care program beneficiaries by
inducing the physician to refer patients to a facility providing financial incentives, rather
than to another facility offering the best or most appropriate care for that patient.

By funneling illegal kickback payments to medical directors, generating more revenue than
allowed by referrals from physician investors, and providing medically unnecessary
procedures, Defendants were able to lock in lucrative referral sources, and further

strengthen its dominance over the healthcare market.

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JURISDICTION AND VENUE
The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 31 U.S.C. §
3732.
The Court has personal jurisdiction over the Defendants pursuant to 31 U.S.C. § 3732(a)
because Defendants transact the business that is the subject matter of this lawsuit in the
Eastern District of Louisiana.
Venue is proper in this district pursuant to 31 U.S.C. § 3732(a) because the acts complained
of herein occurred in Jefferson Parish and St. Tammany Parish, Louisiana, within the
Eastern District of Louisiana, and Defendants transact the business that is the subject matter
of this lawsuit in this District.
Under 31 U.S.C. § 3730, this Complaint is to be filed in camera and remain under seal for
a period of at least sixty (60) days after the Court receives the Complaint, unless the
Government requests to extend the time for intervention and the Relators concur.
Immediately upon filing the Complaint, Relators will provide the United States Attorney
for the Eastern District of Louisiana and the Attorney General of the United States with a
copy of this Complaint and written disclosure of substantially all material evidence and
information Relators possess.

PARTIES

Relator — Erica Boogaerts. A resident of St. Tammany Parish, State of Louisiana, and
citizen of the United States. Erica Boogaerts served as Regional Manager for VAC from
August 2009 to August 2016. Her position in the company afforded her access to investors,

financials, clinical information, inside company operations, and other confidential

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information only provided to a select few. While employed as Regional Manager, Ms.
Boogaerts also had access to confidential VAC electronic drives and reports.

Relator — Chad Edwards. A resident of St. Tammany Parish, State of Louisiana, and
citizen of the United States. Chad Edwards served as a Physician Liaison/Business
Developer for VAC from June 2012 to July 2016. His position in the company afforded
him access to investors, financials, clinical information, marketing tactics, and other
confidential information only provided to a select few.

Defendant — Vascular Access Centers, LP. VAC is a Pennsylvania limited partnership
with its principal offices in Philadelphia. VAC provides dialysis access maintenance to its
patients, including thrombectomy/thrombolysis, fistulagrams, fistula maturation
procedures, vessel mapping, central venous occlusion treatment, complete catheter
services, peripheral arterial disease procedures, varicose vein procedures and chronic
cerebrospinal venous insufficiency procedures at numerous majority owned locations
throughout the country.

Defendant — Vascular Access Center of East Memphis, LLC. A Tennessee limited
liability company with its principal place of business in Memphis, Tennessee. This
company is majority owned by VAC.

Defendant — Vascular Access Center of Memphis, LLC. A Tennessee limited liability
company with its principal place of business in Memphis, Tennessee. This company is
majority owned by VAC.

Defendant — Vascular Access Center of Jacksonville, LLC. A Florida limited liability
company with its principal place of business in Jacksonville, Florida. This company is

majority owned by VAC.

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Defendant — Vascular Access Center of Durham, LLC. A North Carolina limited
liability company with its principal place of business in Raleigh, North Carolina. This
company is majority owned by VAC.

Defendant — Vascular Access Center of Georgia, LLC. A Georgia limited liability
company with its principal place of business in Macon, Georgia. This company is majority
owned by VAC.

Defendant — Vascular Access Center of Southwest Louisiana, LLC. A Louisiana
limited liability company with its principal place of business in Lafayette, Louisiana. This
company is majority owned by VAC.

Defendant — Vascular Access Center of Prince George’s County, LLC. A Maryland
limited liability company with its principal place of business in Landover, Maryland. This
company is majority owned by VAC.

Defendant — Vascular Access Center of Southern Maryland, LLC. A Maryland limited
liability company with its principal place of business in Brandywine, Maryland. This
company is majority owned by VAC.

Defendant — Vascular Access Center of D.C., LLC. A District of Columbia limited
liability company with its principal place of business in Washington D.C. This company is
majority owned by VAC.

Defendant — Vascular Access Center of Pittsburgh, LLC. A Pennsylvania limited
liability company with its principal place of business in Pittsburgh, Pennsylvania. This

company is majority owned by VAC.

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Defendant — Vascular Access Center of South Los Angeles, LLC. A California limited
liability company with its principal place of business in Downey, California. This company
is majority owned by VAC.

Defendant — Vascular Access Center of New Orleans, LLC. A Louisiana limited
liability company with its principal place of business in Metairie, Louisiana. This company
is majority owned by VAC.

Defendant — Vascular Access Center of North Shore Louisiana, LLC. A Louisiana
limited liability company with its principal place of business in Covington, Louisiana. This
company is majority owned by VAC

Defendant — Vascular Access Center of Bolivar County, LLC. A Louisiana limited
liability company with its principal place of business in Cleveland, Mississippi. This
company is majority owned by VAC.

Defendant — Vascular Access Center of Atlantic County, LLC. A New Jersey limited
liability ompany with its principal place of business in Mays Landing, New Jersey. This
company is majority owned by VAC.

Defendant — Vascular Access Center of Eatontown, LLC. A New Jersey limited
liability company with its principal place of business in Eatontown, New Jersey. This
company is majority owned by VAC.

Defendant — Vascular Access Center of Central New Jersey, LLC. A New Jersey
limited liability company with its principal place of business in Piscataway, New Jersey.

This company is majority owned by VAC.

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Defendant — Vascular Access Center of West Orange, LLC. A New Jersey limited
liability company with its principal place of business in Philadelphia, New Jersey. This
company is majority owned by VAC.

Defendant — Vascular Access Center of Houston, LLC. A Texas limited liability
company with its principal place of business in Houston, Texas. This company is majority
owned by VAC.

Defendant — Philadelphia Vascular Institute, LLC. A Pennsylvania limited liability
company with its principal place of business in Harrisburg, Pennsylvania.

Defendant — Main Line Vascular Institute, LLC. A Pennsylvania limited liability
company with its principal place of business in King of Prussia, Pennsylvania. Upon
information and belief, this companies is owned by James F. McGuckin, Jr., M.D. and is
managed by VAC.

Defendant — Peripheral Vascular Institute of Philadelphia, LLC. A Pennsylvania
limited liability company with its principal place of business in Philadelphia, Pennsylvania.
Upon information and belief, this company is owend by James F. McGuckin, Jr., M.D. and
is managed by VAC.

Defendant — James F. McGuckin, Jr., M.D. A resident of York County, State of
Pennsylvania, and citizen of the United States. Dr. McGuckin founded VAC and serves as
VAC’s Chief Executive Officer. As the CEO, Dr. McGuckin is personally responsible for
the policies and procedures in place at VAC that form the foundation of this Complaint.
Moreover, Dr. McGuckin, as a physician investor, has personally billed Medicare,
Medicaid, and other federal and state health care programs, costing the government to pay

millions of dollars in unnecessary medical procedures.

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FACTS
Applicable Laws
A. The Federal Anti-Kickback Statute
The federal Anti-Kickback Statute makes it a crime to knowingly and willfully offer, pay,
solicit or receive any remuneration to induce a person: (1) to refer an individual to a person
for the furnishing of any item or service covered under a federal health care program, or
(2) to purchase, lease, order, arrange for or recommend any good, facility, service, or item
covered under a federal health care program. 42 U.S.C. §1320a-7b(b)(1) and (2).
The term “any remuneration” encompasses any kickback, bribe, or rebate, direct or
indirect, overt or covert, in cash or in kind. 42 U.S.C. § 1320a-7b(b)(1).
Violations of the federal Anti-Kickback Statute must be knowing and willful. 42 U.S.C. §
1320a-7b(b)(1). An act is willful if “the act was committed voluntarily and purposely, with
the specific intent to do something the law forbids, that is with a bad purpose, either to
disobey or disregard the law.” United States v. Starks, 157 F.3d 833, 837-38 (11th Cir.
1998).
The federal Anti-Kickback Statute has been interpreted to cover any arrangement where
one purpose of the remuneration was to obtain money for the referral of services or to
induce further referrals. United States v. Greber, 760 F.2d 68 (3 rd. Cir.), cert. denied, 474
U.S. 988 (1985). Moreover, payments made to physicians to induce referrals, even if also
intended to compensate for professional services, violate the Anti-Kickback Statute.
United States ex rel. Pogue v. Diabetes Treatment Centers of America, 2008 U.S. Dist.

LEXIS 55432 [*23] (D.C. Cir. 2008).

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.A violation of the federal Anti-Kickback Statute constitutes a felony punishable by a
maximum fine of $25,000, imprisonment up to five years, or both. Any party convicted
under the federal Anti-Kickback Statute must be excluded (i.e., not allowed to bill for any
services rendered) from Federal health care programs for a term of at least five years. 42
U.S.C. § 1320a-7(a)(1).

Even without conviction, if the Secretary of HHS finds administratively that a provider has
violated the federal Anti-Kickback Statute, the Secretary may exclude that provider from
federal health care programs for a discretionary period, and may impose administrative
sanctions of $50,000 per kickback violation. 42 U.S.C. § 1320a-7(b).

HHS has published safe harbor regulations that define practices that are not subject to
prosecution or sanctions under the federal Anti-Kickback Statute because such practices
would unlikely result in fraud or abuse. See 42 C.F.R. § 1001.952. However, only those
arrangements that precisely meet all the conditions set forth in the safe harbor are afforded
safe harbor protection. None of the VAC’s arrangements/agreements at issue here meet
these safe harbor regulations.

B. The Stark Law

Section 1877 of the Social Security Act, 42 U.S.C. § 1395nn(a)(1), the Stark Law, prohibits
a physician from referring Medicare patients for certain “Designated Health Services”
(“DHS”), to an entity with which the physician or the physician’s immediate family has a
“financial relationship,” unless an exception applies.

The Stark Law’s prohibitions center on the connection between the referring physician and

the entity receiving the referral. The term “financial relationship” includes indirect

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compensation arrangements between the physician and an entity that furnishes DHS. See
42 C.F.R. § 411.354(a)(1)@)-

The Stark Law broadly defines “financial relationship” to include ownership and
investment interest and compensation agreements that involve any direct or indirect
remuneration between a physician and an entity providing DHS. The Stark Law’s
exceptions identify specific types of investments and compensation agreements that will
not violate its referral and billing prohibitions.

For example, compensation paid to a referring physician serving as an employee in a
hospital will fall within an exception to the statute ift (1) the employment is for readily
identifiable services; (2) the amount of remuneration paid to the physician is consistent
with the fair market value of the services provided and is not “determined in a manner that
takes into account directly or indirectly the volume or value of any “referrals” by the
physician; and (3) the compensation to the physician would be “commercially reasonable”
in the absence of any referrals by the physician. 42 U.S.C. § 1395nn(e)(2). Thus,
compensation paid to a physician under an employment agreement that exceeds fair market
value, for which no actual services are performed, or which takes into account the volume
or value of the referrals or other business generated between the parties, triggers the referral
and payment prohibitions of the Stark Law with respect to DHS referred by that physician.
In addition to prohibiting certain physician referrals, the Stark Law prohibits health care
entities from presenting or causing to be presented any Medicare claim for DHS provided
as a result of a prohibited referral. See 42 U.S.C. § 1395nn(a)(1)(B). Any entity that
collects Medicare payments for DHS rendered pursuant to a prohibited referral must refund

all collected amounts. 42 U.S.C. § 1395nn(g)(2); 42 C.F.R. § 411.353(d).

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54. Violations of the Stark Law may subject the physician to exclusion from participation in

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federal health care programs and various financial penalties, including: (a) a civil monetary
penalty of $15,000 for each service included in a claim for which the physician knew or
should have known that payment should not have been made under Section 1395(g)(1);
and (b) an assessment of three times the amount claimed for a service rendered pursuant to
a referral the physician knew or should have known was prohibited. See 42 U.S.C. §§
1395nn(g)(3), 1320a-7a(a).

Stark Law violators on both sides of the illegal referral relationship are subject to the
sanctions which include denial of payments, refund of claims, and civil monetary penalties
of up to $15,000 per DHS based on an improper referral. 42 U.S.C. § 1395nn(g).

C. The Federal False Claims Act

The federal False Claim Act (“federal FCA”) provides in pertinent part: Any person who
(1) knowingly presents, or causes to be presented, to an officer or employee of the United
States Government or a member of the Armed Forces of the United States a false or
fraudulent claim for payment or approval; (2) knowingly makes, uses, or causes to be made
or used, a false record or statement to get a false or fraudulent claim paid or approved by
the Government; (3) conspires to defraud the Government by getting a false claim allowed
or paid, is liable to the United States Government for a civil penalty of not less than $5,500
and not more than $11,000, plus three times the amount of damages which the Government
sustains because of the act of that person.

Background of the Vascular Access Centers

Founded by Dr. McGuckin, and through Dr. McGuckin’s actions as CEO of VAC, VAC

now has one of the largest independent integrated group of vascular access centers in the

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country. Since its inception, VAC has grown to include services in approximately a dozen
States and has reached over 160,000 patients.

VAC’s business has grown by forming Independent Facilities throughout the country, each
of which is majority owned by VAC, while minority ownership is offered to physician
investors (except for Peripheral Institute of Philadelphia, LLC and Main Line Vascular
Institute, LLC. These entities are owned by Dr. McGuckin and managed by VAC).

A. Overview of Vascular Access Centers’ Kickback Scheme

VAC, through its Independent Facilities, contract with various physician investors to serve
as a medical director. An Independent Facility’s payment to its medical director was
directly linked to the number of referrals generated by the physician serving as medical
director.

For example, in 2011, the VAC facility in Houston, Texas, increased its medical director
annual salary from $48,000 per year to $60,000 per year, plus an additional $90,000 per
year for “consulting services”, in order to coerce its medical director to refer more patients
to Vascular Access Center of Houston, LLC. The medical director provided no services
for this increase in pay, and it was understood that this increase was solely for reasons to
encourage additional referrals.

Additionally, and as another example, one of the VAC facilities in Louisiana, Vascular
Access Center of North Shore Louisiana, LLC, has had a medical directorship agreement
in place with Northlake Nephrology Institute (“Northlake”) since this facility’s inception
in April 2010. Despite never providing any of the duties required by the medical
directorship agreement, the facility consistently paid Northlake $4,800 per month from

April 2010 through present. Moreover, during an eight-month period, January 2016

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through August 2016, the medical directorship agreement had lapsed and the facility
continued to pay Northlake its monthly fee without a contract in place. Eventually, the
facility decided to renew Northlake’s medical directorship agreement to maintain this
source of referrals, despite Northlake’s lack of medical directing.

Similar to the above, and in an effort to keep the physician investors content and to maintain
the level of referrals provided, VAC agreed to decrease its management fee percentage
from 18% to 11% in 2015 for the Vascular Access Center of New Orleans, LLC.

Aside from these medical directorship matters, Relator, Chad Edwards, was responsible
for gauging physician investors satisfaction with VAC and to coerce physician investors to
refer more patients.

For instance, once VAC had established who the physician investors would be for a new
Independent Facility, VAC would issue a pro forma with an inflated rate of either
construction, operating capital, or both. However, VAC would list the required capital
needed to begin operating as twice as what was actually required. VAC would then provide
half the required capital (along with other investors of less importance), while allowing
other physician investors with the capability of referring a substantial number of patients
to the new facility to invest via an issued promissory note. Since the real operating capital
was already accounted for, the new VAC facility would never call the promissory note,
and the referring physician investor would get a substantial percentage of ownership in the
facility without providing any monetary capital. Realtor, Chad Edwards, is aware of this
method to acquire ownership happening at Vascular Access Center of North Shore
Louisiana, LLC, and upon information and belief, of its occurrence at other Independent

Facilities.

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. VAC would provide Relator, Chad Edwards, with the referral figures for individual

physician investors so that during investor meetings, Relator could review how many
referrals each investor had sent the previous month to a particular Independent Facility.
This was an attempt by VAC to use the other investors to squeeze more referrals out of
their partners who were not sending an adequate number of referrals.

As additional revenue was generated for the Independent Facilities through constant
referrals from the physician investors, the total revenue generated by the physician
investors began violating the 40% investor revenue threshold requirement under 42 C.F.R.
§ 1001.952(a)(2)() and (vi).

Upon information and belief, Relators are specifically aware that Vascular Access Center
of New Orleans, LLC and Vascular Access Center of Houston, LLC received between 50%
to 70% of their referrals from physician investors. Although VAC was aware of this test,
VAC would maintain these numbers by not bringing the issue to the investor physicians.
Relator, Erica Boogaerts, attended a meeting between Dr. McGuckin, CEO of VAC, and
one of the medical directors of Vascular Access Center of New Orleans, LLC, at
R’Evolution Restaurant in New Orleans, Louisiana on March 13, 2014, in which the
revenue threshold requirement was discussed. The medical directors were to hire the full-
time Interventional Nephrologist into their practice as a loop hole to this issue, yet both
parties eventually dismissed the issue as unimportant.

B. An Overview of Defendants Violations of the Federal False Claim Act.

To increase procedure numbers, VAC, by way of Dr. McGuckin’s orders and through its
Independent Facilities, would create a treatment loop that would ensure patients were

continually placed on their procedure table.

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During the initial referral, the Independent Facility would perform a fistulagram as ordered
by the referring physician. After completing the fistulagram, the Independent Facility
would begin the process of putting patients on a treatment loop by unilaterally and
arbitrarily ordering follow-up procedures for the patients.

During these follow-up appointments, the Independent Facility would perform another
fistulagram — this time, knowing the procedure was not ordered by a referring physician
and with no regard to medical necessity.

These follow-up appointments continued for the patients, occurring approximately one to
three months, with follow-up fistulagram procedures, which could ultimately lead to
providing the patient with a thrombectomy.

Thrombectomy procedures are very risky procedures that come with higher complication
rates than fistulagrams.

In addition to this fistulagram, the Independent Facility would also perform a PAD screen
at the patient’s initial visit to the Independent Facility and every six months thereafter.
This initial PAD screen, which entitled a PADnet test — a Medicare/Medicaid billable test
— was completed without a physician order, and was billed through a separate entity called
Philadelphia Vascular Institute, LLC, an entity owned by Dr. McGuckin. Such action was
done to avoid the perception of self-referring.

The purpose of the PAD screen was to ultimately generate additional future revenue for
the Independent Facility through angiograms. In short, the patient was sent to an
Independent Facility for a dialysis complication, and would have an unreferred, medically

unnecessary billable test performed that was completely unrelated to the initial complaint.

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If a patient’s PAD screen came back positive, the Independent Facility would immediately
schedule an angiogram, a procedure that was completed without any physician referral.
Upon information and belief, an Independent Facility, on average, performed 10-20
angiograms per month.

Upon information and belief, following the angiogram, the Independent Facility would
then schedule the patient for a second procedure of the subsequent leg, as well as a follow-
up appointment, during which the patient would receive another fistulagram and potentially
a PAD screen.

If a patient refused to have a procedure scheduled it was VAC’s policy to have a physician
at the Independent Facility “educate” the patient as to why the patient need this procedure,
despite being unreferred.

If a patient’s PAD screen came back negative, the Independent Facility would continue the
treatment loop, providing fistulagrams and continuing PAD screens every six months — in
perpetuity with an order from a referring physician. |

Upon information and belief, an Independent Facility, on average, performed over 100
fistulagrams per month without any physician referral.

Subjecting patients to this continuous treatment loop increases the risk of complications.
One fistulagram procedure carries risk. Here, Independent Facilities were often providing
five or more fistulagrams to a patient in any given year, thus multiplying the risk
exponentially.

A fistulagram is a test often used to determine the cause of patient’s not being able to
receive dialysis through their graft or arterio-venous fistula. If the vascular access is

blocked or otherwise impaired, a patient will not be able to properly receive dialysis

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treatment. Fistulagrams are commonly performed by Interventional Nephrologists,
Vascular Surgeons or Interventional Radiologist (physicians who specialize in renal or
kidney function) specifically trained to perform interventional procedures on dialysis
patients at hospitals or outpatient vascular access centers, such as those provided by
Defendants, by inserting a dye into the dialysis access port to analyze whether the access
is working properly.

The results of the fistulagram should be used by the treating physician to formulate a plan
of care for a poorly functioning access port. Fistulagrams should not be performed on
dialysis patients unless there is a medically necessary reason to do so. Performing
unnecessary procedures can result in allergic reactions, breathing complications, bleeding
complications and many other complications related to the poor quality of life that many
dialysis patients have. Upon information and belief, physicians, with the knowledge of
Defendants, routinely have performed and are performing fistulagrams as “follow-up
visits” on patients who have no indication that the fistulagram is medically necessary or
proper.

Title XVIII of the Social Security Act, Section 1862(a)(1)(A) states that no Medicare
payment shall be made for items or services which are not “reasonable and necessary for
the diagnosis or treatment of illness or injury ...” 42 U.S.C. § 1395y. The Centers for
Medicare and Medicaid Services (“CMS”) routinely publishes guidance materials for
healthcare providers concerning reimbursement issues, including Local Coverage
Determination (“LCD”) guidelines for specific geographic areas regarding appropriate

billing and coding procedures. The LCD for Dialysis (AV fistula and graft) Vascular

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Access Maintenance issued for the primary jurisdiction of Louisiana outlines the coverage

indication limitations and medical necessity for an fistulagram procedure.

The Medicare covered indications (or accepted reasons) for performing a fistulagram for

Vascular Access Maintenance on a patient are as follows:

a. Change in physical examination characteristics of the thrill.

b. Elevated venous pressures recorded during hemodialysis (static and dynamic
pressures) or measured within the vascular access during a diagnostic study (static
pressures).

c. Detection of decreased intra-access blood flow at dialysis.

d. Swollen extremity.

e. Unexplained reduction in dialysis kinetics.

f. Clinical parameters such as prolonged bleeding after needle withdrawal, altered
physical examination characteristics of vascular access or thrombosis.

g. Elevated negative arterial pre-pump pressures that prevent increasing to acceptable
blood flow.

h. Inability to puncture to perform hemodialysis.

i. Abnormal recirculation values.

j. Stenosis associated with thrombosis.

k. Autogenous fistulae that have failed to mature after 4 to 6 weeks.

l. Inefficient dialysis and access dysfunction (Urea Reduction Ration below 60%. See
KDOQI guidelines).

m. Recirculation percentage greater than 10-15%.

n. Development of pseudoaneurysm(s).

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o. Superficial collateral venous channels.

p. Evidence for in-flow obstruction.

q. Distal steal syndrome.
. Vascular or dialysis patients should only receive a diagnostic fistulagram if one of the
following three incidents occurs: (1) the dialysis patient has been referred to the vascular
access center for a fistulagram by a physician or their dialysis center because of one of the
above-listed indications; (2) the dialysis patient complains of experiencing one of the
above-listed indications to the nephrologist or other physician at the vascular access center;
or (3) during a physical examination of the patient at the vascular access center, the treating
nephrologist or other physician discovers one of the above-listed indications and
determines that a diagnostic fistulagram is medically necessary. Upon information and
belief, Independent Facilities are performing fistulagrams which are not medically
necessary and are billing Medicare for those fistulagrams.
Relators know that a review of VAC’s patients’ medical records would demonstrate that in
numerous cases, Independent Facilities performed a fistulagram on a patient even though
(1) there was no referral from a doctor or dialysis center requesting the fistulagram, (2)
there was no complaint from the patient of any of the approved indications, and (3) the
Defendant did not perform a physical exam revealing the presence of any of the approved
indications.
Defendants were aware that physicians were performing medically unnecessary
fistulagrams.
In addition to performing fistulagrams, Defendants began to perform SVCgrams to even

further increase profits.

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. ASVCgram is a more invasive procedure than a fistulagram and is reimbursed by Medicare
at a higher rate. Because of this, VAC instructed centers to place the patient on the
procedure room table and perform the catheter removal under fluoroscopy and perform
balloon angioplasty of the vein.

Relator, Chad Edwards, specifically recalls a teleconference in 2014 during which, Tanya
Ryan, manager of Vascular Access Center of Memphis, LLC, explained to VAC’s director
of physician liaisons, Ryan Deady, and Margaret Couvillon, manager of Vascular Access
Center of New Orleans, LLC, how fistulagrams can be converted to the more lucrative
SVCgram procedures. Following this conference call, Vascular Access Center of New
Orleans, LLC began performing SVCgrams at a drastically higher rate in order to increase
RVUs/reimbursement.

Following any intervention, be it a fistulagram or SVCgram, another follow-up
appointment was scheduled for the patient, again without any order from a referring
physician, while rescreening the patient for PAD. This would ensure the cycle continued.
Each of these follow-up procedures and PAD procedures were done without a referral from
a provider and were knowingly presented to the Government for payment.

To ensure patients arrived at their follow-up appointments, these Independent Facilities
would pay for patient transport, despite patient access to public transportation.

For instance, in March 2015, the Independent Facilities, in total, paid $101,327.47 in cab
services, all to guarantee that their patients received continual unreferred, unnecessary
medical treatment.

Count [ (All Defendants)
Violation of the Federal False Claims Act 31 U.S.C. § 3729(a)

. Relators re-allege paragraphs 1 through 91 as though fully set forth herein.

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98. Through the acts described above, VAC, by way of Dr. McGuckin’s orders and through its
Independent Facilities, knowingly presented and caused to be presented to the Government
fraudulent claims, records, and statements to obtain reimbursement for DHS, such as
fistulagrams, angiograms, and SVCgrams — procedures provided under the Medicare
program.

99. The Government, unaware of the falsity of the claims made by Defendants, approved, paid,
and participated in payments made by the Government’s fiscal intermediaries for claims
that otherwise would not have been allowed.

WHEREFORE, Relators request the following relief:

A. Judgment against Defendants for three times the amount of damages the United States
has sustained because of their actions, plus a civil penalty of $11,000 for each violation
of the federal False Claims Act;

B. 25% of the proceeds of this action if the United States elects to intervene, and 30% if
it does not;

C. Attorneys’ fees, costs, and expenses; and

D. Such other relief as the Court deems just and appropriate.

Count II (All Defendants)
Violations of the Federal Anti-Kickback Statute 42 U.S.C. § 1320a-7b(b)

100. Relators re-allege paragraphs 1 through 91 as though fully set forth herein.

101. VAC, by way of Dr. McGuckin’s orders and through its Independent Facilities, offered
medical directorship agreements that violate the federal Anti-Kickback Statute because
payments to these medical directors disguised as directorship fees constitute
remuneration offered to induce, or in return for, the referral of business paid for by federal

programs, including Medicare or Medicaid.

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102. VAC, by way of Dr. McGuckin’s orders and through its Independent Facilities,
knowingly made excessive payments to medical directors as financial inducement for
patient referrals to VAC’s majority owned Independent Facilities, which services were
paid for by federal programs, including Medicare, Medicaid, etc., in violation of the Anti-
Kickback Statute, 42 U.S.C. § 1320a-7b(b).

103. Through its majority owned Independent Facilities, VAC’s illegal kickbacks to medical
directors induced improper referrals of services provided to beneficiaries to federally-
funded healthcare programs.

104. These medical directorship agreements are not protected under the existing “safe harbor”
regulations.

105. Moreover, Independent Facilities provided its patients with transportation services for
free, knowing that such a service will likely influence a patient’s selection of a particular
medical provider.

106. For each of these federal Anti-Kickback Statute violations, Defendants are subject to
penalties of up to $50,000 for each improper act, plus damages of up to three times the
amount of the improper remuneration at issue. 42 U.S.C. § 1320a-7a(a).

WHEREFORE, Relators request the following relief:

A. Judgment against the Defendants in an amount equal to up to three times the amount
of the improper remuneration at issue;

B. Imposition of penalties of up to $50,000 for each kickback violation;

C. Attorneys’ fees, costs and expenses; and

D. Such other relief as the Court deems just and appropriate.

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Count I (All Defendants)
Violations of the Stark Law 42 U.S.C. § 1395nn

Relators re-alleges paragraphs 1 through 91 as though fully set forth herein.

Physician Investors had a financial relationship with VAC, through its majority owned
Independent Facilities to which the Stark Law applied, namely the illegal, excessive
remuneration that VAC, through its majority owned Independent Facilities, paid to the
Physician Investors.

Physician investors referred Medicare patients for DHS to VAC’s majority owned
Independent Facilities, entities with which they had a financial relationship, in violation
of the Stark Law, 42 U.S.C. § 1395nn.

None of the Stark Law’s exceptions apply to the illegal financial relationship or referrals
between VAC’s majority owned Independent Facilities and the Physician Investors.
Each referral of a Medicare patient for DHS by a Physician Investor to a VAC majority
owned Independent Facility constituted a violation of the Stark Law, 42 U.S.C. § 1395nn.
Defendants’ claims for Medicare funds related to tainted referrals they received from
Physician Investors constituted violations of the Stark Law, 42 U.S.C. § 1395nn.
Defendants and Physician Investors, who referred Medicare patients for DHS to VAC
majority owned Independent Facilities are subject to liability under the Stark Law, 42

U.S.C. § 1395(a)(1)(A).

WHEREFORE, Relators request the following relief:

A. Judgement against the Defendants in an amount equal to a refund of all Medicare

claims paid for DHS, that resulted from an illegal referral, pursuant to 42 U.S.C. §

1395nn(g);

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B. Imposition of sanctions against Defendants, including denials of payments, and refunds

of claims pursuant to 42 U.S.C. § 1395nn(g).

C. Imposition of penalties up to $15,000 for each Stark Law violation.

D. Attorneys’ fees, costs, and expenses; and

E. Such other relief as the Court deems just and appropriate.

Jury Demand

Pursuant to Federal Rule of Civil Procedure 38, the Relators hereby demand a trial by jury.

Dated: March 31, 2017

Respectfully submitted,

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